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                         UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO



  MARC GRANO, as personal
  representative of the WRONGFUL
  DEATH ESTATE OF JONATHAN
  ANDREW GARCIA, and a Next Friend
  to J.O.G., A.S.R., An.J.G., and Ar.J.G.,

          Plaintiff,

  vs.

  STATE OF NEW MEXICO, GREGG
  MARCANTEL, New Mexico Secretary of
  Corrections, DAVID JABLONSKI, New
                                                       No. 1:20-cv-00147-PJK-KK
  Mexico Secretary of Corrections,
  CLARENCE OLIVAS, Deputy Warden
  of Penitentiary of New Mexico, BRIAN
  LUCERO, Corrections Officer, FNU
  MARTINEZ, Corrections Officer,
  FNU BACA, Captain, Corrections
  Officer, FNU WELLS, Sergeant,
  Corrections Officer, and JOHN DOES 1
  through 5, employees, staff, agents of
  Penitentiary of New Mexico,

          Defendants.




                              ORDER TO SHOW CAUSE


        THIS MATTER comes before the court sua sponte. Rule 4 states that “[t]he

plaintiff is responsible for having the summons and complaint served within the time

allowed by Rule 4(m).” Fed. R. Civ. P. 4(c)(1). Rule 4(m) provides:
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       If a defendant is not served within 90 days after the complaint is filed, the
       court—on motion or on its own after notice to the plaintiff—must dismiss
       the action without prejudice against that defendant or order that service be
       made within a specified time. But if the plaintiff shows good cause for the
       failure, the court must extend the time for service for an appropriate period.

Fed. R. Civ. P. 4(m). Plaintiff filed his complaint on February 20, 2020, which is more

than 90 days ago. There is no indication in the record that Plaintiff timely served any

defendant.

       NOW, THEREFORE, IT IS ORDERED that Plaintiff shall, within 14 days of

entry of this order, show cause why the court should not dismiss this case for failure to

timely serve the Defendants. Failure to timely show cause may result in dismissal of this

case without prejudice.

       DATED this 25th day of June 2020, at Santa Fe, New Mexico.


                                                 /s/ Paul J. Kelly, Jr.
                                                 United States Circuit Judge
                                                 Sitting by Designation




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